                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PHILADEPHIA PROFESSIONAL                    :
 COLLECTIONS LLC                             :
                                             :
        v.                                   :      CIVIL ACTION NO. 21-5476
                                             :
 CRAWL SPACE DOOR SYSTEM, INC.               :

                                            ORDER

       This 22nd day of November, 2022, it is hereby ORDERED that Plaintiff’s Motion for

Summary Judgment, ECF 23, is GRANTED, and Defendant’s Motion for Summary Judgment, ECF

24, is DENIED. JUDGMENT is hereby ENTERED in favor of Plaintiff and against Defendant for

the sum of $670,077.93, plus prejudgment interest in the amount of $127,535.52.

       As a result, Plaintiff’s Motion for Sanctions, ECF 26, in which Plaintiff seeks default

judgment, is hereby DISMISSED as MOOT.




                                                      /s/ Gerald Austin McHugh
                                                    United States District Judge
